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                    EXHIBIT 21
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        CONFIOI;NTIA UATTORNEY -CU ~NT PRIVILEGED COMMUNICATIONIA'ITORNEY WORK PRODUCT
        FOR SO I. E USE 01' Tllli EAS'rljRN DISTRICT COURT OF LOUISIANA IN RE: OIL SPILL f) 1' TilE 011. Ill(;
          "Diilil' w,m£11 NOIIIZON" IN 7HE GULP OP MEXICO ON APRIL 20, 2010, 10-MD-2179 ("MDL-2 179")



                      Deepwater Hori2on Court Supervised Settlement Program ("CSSP"}
                           Special Master - Independent External Investigation
                                     Interview Report of Freeh Group

  Interviewee:    Christina Mancuso
  Title:          Toxic Tort Litigation Attorney
  Office:         AndryLerner
  Date/Time:      August 7, 2013 9:00AM
  Attendees:      Walt Donaldson, Steve Tidwell, Laure Kirk, David Courcelle (attorney for Mancuso)
  location:       935 Gravier S., New Orlea ns, La. 70112

  These notes are prepared as part of an Independent External Investigation for the Eastern District Court
  of louisiana IN RE: OIL SPILL BY THE OIL RIG "DEEPWATER HORIZON" IN THE GULF OF MEXICO ON APRIL
  20,2010, 10·M0·2179 ("MOl-2179"). Our role as Special Master is limit ed t o performing an
  independent external investigation related to ensuring the integrity of the CSSP program for the benefit
  of the parties and t he public and to perform fact finding as to possible ethical violations or other
  misconduct within the CSSP. We are also exam ining ard evaluating the internal compliance program
  and anti-corruption controls within the CSSP, and making any necessary recommendations to design and
  to implement additional such controls, policies, procedures, and practices to ensure the Integrity of the
  CSSP. We do not represent you, Christina Mancuso.

  On the above date and times, Christina Mancuso was Interviewed in person. We explained that
  information provided in this interview would become part of the investigation record and could be
  reported to the District Court, the Plaintiff St eering Committee, British Petroleum, and potentially to
  third parties.

  Ms. Ma ncuso was advised concerning the need for truthfulness and honesty and was further advised
  concerning t he pena lties for perjury under Title 18 USC section 1001. She was further advised that she
  would not be adjourned as a witness and could be recalled.




 Regardinll the Casey Thonn claim, Ms. Mancuso said that the first time she became involved with this
 claim based on a telephone call from Christine Reita no. During the call, Ms. Reitano told Ms. Mancuso
 she was sending two claims on a disc for referral to Andry Lerner. She does not recall if there was
 actually ar1other claim, other than Mr. Thonn's, on the :jisc. Ms. Mancuso said that Ms. Reitano

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  requested she have Andry Lerner ho nor the attorney percentage, for Ms. Reitano, in the Thonn
  contract, as set forth as a fee agreement, in that contract. Ms. Mancuso recalled that she sent Ms.
  Reitano an attorney referral contract packet. She also recalled that she sent an Andry Lerner claimant
  attorney referral contract to Mr. Thonn with the same percentage requested by Ms. Reitano. When
  asked i f a contract is always sent to the claimant, Ms. Mancuso said that some lawyers do and others do
  not. Ms. Mancuso was unaware If M s. Rei tano ever returned the signed referral contract. In the Andry
  Lerner process, that would not be a role she wou ld handle.




  Ms. Mancuso confirmed again that she had never known or met Mr. Sutton. Regarding Ms. Reitano,
  she did recall she had two or three conversations with Ms. Reitano, generally regarding whether Ms.

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        FOR SOLE US£ OFTHE EASTERN DISTRICT COURT Of LOUISIANA IN /1£: OIL SPIU BY TIJE OIL RIG
          "DT:Ef'WAT£R IIORIZON'' IN Til£ GU/,F OF MEKICC ON APRil- 20. 2010, IO·MD·2 179 ("MDL-2179")

  Reitano had or had not sent t he disc with the claims and there were no conversations after that.




 *The not es are not intended as a verbatim transcription of the meeting, but rather as a summary of
 major matters discussed. Quotes reflect an effort to capture exact words or phrases used during the
 meeting but are not intended as a verbatim transcription. These notes also contain mental impressions
 and observations and relay how the discussion during the meeting may impact other open legal issues
 for the Special Master Investigative Team. These notes also may be shared w ith the members of the
 Special Master Investigative Team to aid in execution of t heir functions and responsibilities, and as such
 are a communication between legal counsel and client. These not es are privileged as bot h an attorney·
 client communication and as attorney work product.




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